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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION

SILVERADO CAPITAL LLC,
a California limited liability company,

Plaintiff,

v.                                            Case No.: 3:23-cv-00556

WATER STREET CAPITAL, INC.,
a Florida corporation,

Defendant.
_______________________________/

     DEFENDANT, WATER STREET CAPITAL, INC.’S, ANSWER AND
                   AFFIRMATIVE DEFENSES

       Defendant, Water Street Capital, LLC (“Water Street” or Defendant), hereby

submits its Answer and Affirmative Defenses to Silverado Capital, LLC’s

(“Silverado” or Plaintiff) Complaint.

                                INTRODUCTION

       1.    Water Street admits that it is an investment firm located in Jacksonville,

Florida and that Silverado provided limited consulting services to Water Street

concerning two electric vehicle companies, Workhorse Group and Lordstown

Motors. Water Street otherwise denies the allegations of paragraph 1 of the

Complaint.

       2.    Water Street denies the allegations contained in paragraph 2 of the
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Complaint.

      3.     Water Street admits that Davis Berg told Enquist that Gilchrist Berg is

a man of his word. Water Street otherwise denies the remaining allegations of

paragraph 3 of the Complaint.

      4.     Water Street admits that it offered to pay Silverado a fair amount for its

services depending upon a variety of variables and that Silverado surreptitiously

included a reference to an agreement that never existed in the invoice that Silverado

submitted to Water Street for an advance payment request Silverado made. Water

Street denies the remaining allegations contained in paragraph 4 of the Complaint.

      5.     Water Street admits that it agreed to pay Silverado a fair amount for its

services. Water Street denies the remaining allegations contained in paragraph 5 of

the Complaint.

      6.     Water Street admits that it has paid Silverado $350,000. Water Street

denies the remaining allegations contained in paragraph 6 of the Complaint.

                   PARTIES, JURISDICTION, AND VENUE

      7.     Water Street admits that Silverado is a limited liability company. Water

Street is without knowledge or information sufficient to form a belief as to the truth

of the remaining allegations contained in paragraph 7 of the Complaint and,

therefore, denies such allegations.

      8.     Water Street is without knowledge or information sufficient to form a

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belief as to the truth of the allegations contained in paragraph 8 of the Complaint

and, therefore, denies such allegations.

       9.     Water Street is without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in paragraph 9 of the Complaint

and, therefore, denies such allegations.

       10.    Water Street admits that it is incorporated under the laws of the state of

Florida and that it maintains its principal place of business in Florida. Water Street

further admits that it is a citizen of the state of Florida.

       11.    Water Street admits the allegations of paragraph 11 of the Complaint.

       12.    Water Street admits the allegations of paragraph 12 of the Complaint

for venue purposes only. Water Street denies committing any act or omission giving

rise to Silverado’s claims.

                                   BACKGROUND

       13.    Water Street is without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in paragraph 13 of the Complaint

and, therefore, denies such allegations.

       14.    Water Street is without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in paragraph 14 of the Complaint

and, therefore, denies such allegations.

       15.    Water Street is without knowledge or information sufficient to form a

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belief as to the truth of the allegations contained in paragraph 15 of the Complaint

and, therefore, denies such allegations.

      16.    Water Street is without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in paragraph 16 of the Complaint

and, therefore, denies such allegations.

      17.    The allegations of paragraph 17 of the Complaint are admitted.

      18.    The allegations of paragraph 18 of the Complaint are admitted.

      19.    Water Street admits that it is a successful and well known private

investment firm in the state of Florida and that Gilchrist Berg is the principal officer

of Water Street. As the amount of assets under management by Water Street is the

subject of a motion to strike, Water Street neither admits nor denies such allegation.

      20.    Water Street admits that Davis Berg is a member of the Water Street

investment team and the son of Gilchrist Berg. Water Street further admits that Mr.

Enquist and Davis Berg had a friendly relationship since 2014. The remaining

allegations in paragraph 20 of the Complaint are denied.

      21.    Water Street denies the allegations contained in paragraph 21 of the

Complaint.

      22.    Water Street denies the allegations contained in paragraph 22 of the

Complaint.

      23.    Water Street denies the allegations contained in paragraph 23 of the

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Complaint.

      24.    Water Street admits that Davis Berg informed Silverado that its fee on

any investment is typically 20% of the profit earned by its clients. Water Street

denies the remaining allegations contained in paragraph 24 of the Complaint.

      25.    Water Street admits that Davis Berg told Enquist that Water Street is

honest and that it routinely conducts consulting agreements on a handshake basis.

Water Street further admits that Davis Berg informed Enquist that Gilchrist Berg is

a “man of his word.” Water Street otherwise denies the allegations of paragraph 25

of the Complaint.

      26.    The allegations of paragraph 26 of the Complaint are admitted.

      27.    Water Street admits that it invested in a short position in Workhorse

Group shortly after the October 30, 2020 videoconference. Water Street otherwise

denies the allegations of paragraph 27 of the Complaint.

      28.    Water Street admits that Silverado was supposed to provide additional

investment ideas to Water Street as part of the consulting services Silverado was to

provide. Water Street denies the remaining allegations contained in paragraph 28 of

the Complaint.

      29.    Water Street denies the allegations contained in paragraph 29 of the

Complaint.

      30.    Water Street admits that the stock prices for Workhorse Group and

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Lordstown Motors were short squeezed in January 2021, and that Water Street was

concerned about its investments in Workhorse during that point in time. Water Street

denies the remaining allegations contained in paragraph 30 of the Complaint.

      31.      The allegations in paragraph 31 of the Complaint are admitted.

      32.      Water Street admits that the Workhorse Group stock fell approximately

50% in February 2021. Water Street further admits that Davis Berg messaged

Enquist that “my deal with you still stands [sic] obviously[.]” Water Street denies

the remaining allegations contained in paragraph 32 of the Complaint.

      33.      Water Street admits that Lordstown Motors’ stock price fell in February

and March 2021. Water Street is without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in paragraph 33

of the Complaint and, therefore, denies the allegations.

      34.      Water Street admits that in or about March 2021, Davis Berg

communicated that Gilchrist Berg had authorized payment of $25,000 for

Silverado’s services. Water Street further admits that it made payment of $25,000 to

Silverado at or about that time. Water Street is without knowledge or information

sufficient to determine whether Exhibit B to the Complaint is a duplicate of any

communications between Davis Berg and Silverado and therefore denies any such

allegations.

      35.      Water Street admits that it requested Silverado to sign a consulting

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agreement before it made any payments to Silverado. Water Street denies the

remaining allegations of paragraph 35 of the Complaint.

      36.    Water Street admits that it sent Silverado a proposed consulting

agreement on or about March 22, 2021 but otherwise denies the remaining

allegations of paragraph 36.

      37.    Water Street admits that Exhibit D to the Complaint is a redacted

duplicate of the consulting agreement that it sent to Silverado and that Enquist signed

on behalf of Silverado. The terms of Exhibit D speak for themselves and Water Street

denies the remaining allegations of paragraph 37 of the Complaint.

      38.    Water Street admits that Davis Berg informed Silverado that the only

person who could bind Water Street, Gilchrist Berg, is a man of his word. Water

Street denies the remaining allegations of paragraph 38 of the Complaint.

      39.    Water Street denies the allegations contained in paragraph 39 of the

Complaint.

      40.    Water Street denies the allegations contained in paragraph 40 of the

Complaint.

      41.    Water Street denies the allegations contained in paragraph 41 of the

Complaint.

      42.    Water Street denies the allegations contained in paragraph 42 of the

Complaint.

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      43.    Water Street admits that it asked Enquist to come to Jacksonville to

meet with Gilchrist Berg, Davis Berg, and others over three days in late 2021. Water

Street denies the remaining allegations contained in paragraph 43 of the Complaint.

      44.    Water Street admits that it requested that Enquist provide Water Street

with an invoice for a payment he requested. Water Street denies the remaining

allegations contained in paragraph 44 of the Complaint.

      45.    Water Street admits that on or about December 2, 2021, it requested

Enquist to send an invoice to Gilchrist Berg for $200,000. Water Street denies the

remaining allegations of paragraph 45 of the Complaint.

      46.    Water Street admits that the invoice submitted by Enquist to Water

Street included a phrase stating that it was a “ ‘progress payment; towards agreed

ten percent of Net Profits . . . on the two EV positions researched for Water Street

Capital by Silverado Capital.” Water Street denies that this was an accurate

statement of the agreement between Water Street and Silverado, and further denies

the implication of paragraph 46 that Water Street was aware of the phrase at the time

the invoice was paid as Water Street never agreed to such terms, had expressly

rejected them, and had not noticed Silverado’s slipping it into the invoice. Water

Street otherwise denies the remains allegations of paragraph 46 of the Complaint.

      47.    Water Street admits that it received the transmittal email set forth as

Exhibit G in the Complaint. Water Street otherwise denies the remaining allegations

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of paragraph 47 of the Complaint.

      48.    Water Street denies the allegations contained in paragraph 48 of the

Complaint.

      49.          Water Street admits that Gilchrist Berg acknowledged receipt of

the invoice and informed Silverado that payment would be forthcoming. Water

Street denies that such acknowledgement extended to the false description of the

agreement between Silverado and Water Street that Enquist surreptitiously included

in the invoice, and further denies the implication of paragraph 49 that Water Street

was aware of the sentence in the invoice submitted by Silverado at the time payment

was made. Water Street otherwise denies the remains allegations of paragraph 49 of

the Complaint.

      50.    Water Street admits that Davis Berg invited Enquist to come to

Jacksonville to discuss other potential investment opportunities. The allegations of

paragraph 50 are otherwise denied.

      51.    Water Street admits that on or about January 31, 2022, Gilchrist Berg

and Davis Berg had a phone conversation with Enquist and discussed the gross

profits Water Street’s clients made to date on the Workhorse Group and Lordstown

Motors positions. The allegations of paragraph 51 are otherwise denied.

      52.    Water Street admits that on the call, Gilchrist Berg stated that Water

Street would make another payment to Silverado. All other allegations of paragraph

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 52 are denied.

       53.    Water Street admits that during the call, Gilchrist Berg stated to Mr.

 Enquist that Water Street never agreed to pay to Silverado 10% of its clients’ net

 profits on the two investments. All other allegations of paragraph 53 are denied.

       54.    The allegations of paragraph 54 are admitted.

       55.    The allegations of paragraph 55 are admitted.

       56.    Water Street admits that Gilchrist Berg stated in an email that 50% of

 Water Street’s profits in the investment after it took 100% of the risk made

 absolutely no sense, was not fair value for the services, and never would have been

 agreeable to Water Street. All other allegations of paragraph 56 are denied.

       57.    Water Street denies the allegations contained in paragraph 57 of the

 Complaint.

       58.    Water Street admits that Silverado sent a “final invoice” on or about

 August 18, 2022. All other allegations of paragraph 58 are denied.

       59.    Water Street admits that Davis Berg, on behalf of Gilchrist Berg,

 rejected the invoice and confirmed that the parties had never agreed to such a deal.

 All other allegations of paragraph 59 are denied.

       60.    The allegations of paragraph 60 are denied.

       61.    Water Street admits that it refuses to pay any additional amounts to

 Silverado. All other allegations of paragraph 61 are denied.

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                     COUNT I—BREACH OF CONTRACT

       62.    Water Street responds to the allegations contained in paragraphs 1

 through 61 of the Complaint as fully set forth above.

       63.    Water Street admits the allegations contained in paragraph 63 of the

 Complaint.

       64.    Water Street denies the allegations contained in paragraph 64 of the

 Complaint.

       65.    Water Street denies the allegations contained in paragraph 65 of the

 Complaint.

       66.    Water Street denies the allegations contained in paragraph 66 of the

 Complaint.

       67.    Water Street denies the allegations contained in paragraph 67 of the

 Complaint.

       68.    Water Street denies the allegations contained in paragraph 68 of the

 Complaint.

                       COUNT II—QUANTUM MERUIT

       69.    Water Street responds to the allegations contained in paragraphs 1

 through 61 of the Complaint as fully set forth above.

       70.    Water Street denies the allegations contained in paragraph 70 of the

 Complaint.

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       71.    Water Street admits the allegations contained in paragraph 71 of the

 Complaint.

       72.    Water Street admits the allegations contained in paragraph 72 of the

 Complaint.

       73.    Water Street admits the allegations contained in paragraph 73 of the

 Complaint.

       74.    Water Street denies the allegations contained in paragraph 74 of the

 Complaint.

       75.    Water Street denies the allegations contained in paragraph 75 of the

 Complaint.

                     COUNT III—UNJUST ENRICHMENT

       76.    Water Street responds to the allegations contained in paragraphs 1

 through 61 of the Complaint as fully set forth above.

       77.    Water Street denies the allegations contained in paragraph 77 of the

 Complaint.

       78.    Water Street denies the allegations contained in paragraph 78 of the

 Complaint.

       79.    Water Street denies the allegations contained in paragraph 79 of the

 Complaint.

       80.    Water Street denies the allegations contained in paragraph 80 of the

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 Complaint.

       81.    Water Street denies the allegations contained in paragraph 81 of the

 Complaint.

       82.    Water Street denies the allegations contained in paragraph 82 of the

 Complaint.

                                GENERNAL DENIAL

       83.    Water Street denies all allegations in the Complaint not specifically

 admitted herein.

                    AFFIRMATIVE AND FURTHER DEFENSES

                 Allegations Common to the Affirmative Defenses

       1.     In October 2020, before Water Street made any investment decisions in

 Workhorse Group and Lordstown Motors, Silverado’s principal, Jeffrey Enquist,

 represented to Gilchrist Berg and Davis Berg at Water Street, that he was personally

 “heavily invested” in short positions in both entities.

       2.     The value of a short position is directly impacted by how long the short

 seller must stay at risk (the shorter the better) and how few investors are shorting the

 position (the fewer the better), both of which principles were known to both

 Silverado and Water Street when they discussed the possibility of Silverado

 consulting for Water Street. Unlike a stock put option holder whose downside risk

 is only the value of the put, a short seller has unlimited downside risk because a short

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 seller has the obligation to buy the stock back on demand regardless of the price to

 which it has risen.

       3.      As a result, during their initial meeting, Water Street informed

 Silverado that it expected that neither Silverado nor Enquist would publish any

 information to the public concerning its analysis in Workhorse Group or Lordstown

 Motors. Silverado did not then disclose that it intended to publish to the world at

 large its analysis in Workhorse Group and recommend to the public to short the

 investment.

       4.      Enquist induced Water Street to invest in short positions in Workhorse

 Group and Lordstown Motors based on his representations that he/Silverado had

 invested and had put their own capital at risk in the investments and that they would

 continue to risk their capital along with Water Street. The representation that Enquist

 had personal risk in the short positions was extremely important to Water Street

 because Water Street understood the risk that any short seller held.

       5.      Within three weeks of Silverado recommending Workhorse Group and

 Lordstown Motors as short investments, the prices of the two stocks both increased

 approximately 100%, exposing Water Street to massive losses and indeed, at one

 point, Water Street was subject to a loss in excess of $7,500,000 in the positions.

       6.      At or about the same time, Water Street discovered that the two stocks

 were among the most shorted investments and that Silverado’s analysis was widely

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 known in the investment community.

       7.     As a result of the disastrous performance of the two short investments,

 it became abundantly clear to Water Street that Silverado had provided it with bad

 advice concerning the timing of the short position investments in Lordstown Motors

 and Workhorse Group, causing Water Street to lose confidence in Enquist and

 Silverado. In this regard, in determining whether to stay in the positions, and

 potentially be exposed to millions of dollars of additional losses, Water Street felt

 compelled to use its own resources and conduct its own independent analysis and

 research, including sending analysts across the country to conduct in-person

 interviews with people in the industry and potential customers of the companies to

 analyze whether it was likely that the stock prices in the two companies would

 eventually fall, as Silverado had represented.

       8.     Nevertheless, as had been contemplated and agreed upon the inception

 of the parties’ relationship, Water Street freely shared its non-public and confidential

 field notes and analysis on the two positions with Silverado in real time. Upon

 information and belief, Silverado then traded in the positions based on Water Street’s

 independent analysis and research, and Silverado reported that it made substantial

 profits on such trades.

       9.     Water Street ultimately stayed in the investments and eventually made

 profit on the positions due to its own independent analysis—not based on Silverado’s

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 ideas or analysis. However, Water Street would have made a much larger profit on

 the investments, had much less exposure associated with the cost of shorting the

 stocks and its own investigation, and had much less short squeeze exposure, had

 Water Street invested in the short positions at the right time as opposed to when

 Silverado recommended that Water Street invest.

       10.    During the course of the parties’ relationship, Enquist insisted that the

 parties communicate using the Signal messaging application, which Water Street

 came to learn automatically deletes messages between its users after a set period of

 time set by one of the participants in the conversation. Silverado and Enquist

 represented that they did not want there to be records of their communications

 because Enquist had been involved in a number of prior qui tam legal proceedings

 and did not want any of his communications with Water Street to be discoverable in

 any of those lawsuits.

       11.    During conversations between the parties, Water Street came to learn

 that Silverado unilaterally changed the time frame that messages would persist

 before being automatically deleted by Signal. For example, for certain messages,

 Enquist set the time for deletion to a few minutes and at other times, set the messages

 to delete after a week.

       12.    Unbeknownst to Water Street, Silverado, acting through Enquist,

 selectively took pictures or screen captures of messages between the parties and

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 retained them, despite his representation that he did not want there to be a written

 record of such communications, but he did not retain all of the communications, and

 in so doing, has destroyed the ability to put the messages in their proper context of

 the overall communications being made.

       13.    Moreover, Enquist unilaterally manipulated several of the messages,

 then took screen shots of his fake manipulated messages, making it appear that the

 parties made communications that in fact never occurred. The most brazen example

 of which is the purported message embedded at paragraph 39 of the Complaint, and

 attached as Exhibit E of the Complaint, in which Enquist claims that Davis Berg

 wrote that Water Street agreed to pay Silverado 10% of the profits. Quite simply, a

 number of the purported Signal messages that Silverado has attached to the

 Complaint are inauthentic digital forgeries.

       14.    Following Water Street’s investment in Workhorse Group and

 Lordstown Motors, and at a time when the short positions were losing money,

 Enquist reduced his short position in the stocks without advising Water Street to do

 the same, thereby leaving Water Street exposed to unlimited short squeeze risk while

 Enquist and Silverado were de-risked but still had an upside claim to compensation

 from Water Street if the stocks went down in value.

       15.    Although Silverado was purporting to act as a consultant and

 investment advisor to Water Street, and Water Street relied on Silverado for analysis,

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 advice, and updates on the positions, Silverado did not provide any notice to Water

 Street that it was reducing its investment in the positions or advising Water Street

 that it should reduce its investment in the short positions. Again, Water Street never

 would have shorted those positions had Enquist not affirmatively represented that

 he was personally heavily invested and at risk in short positions in both equities.

       16.    After Water Street invested in short positions in Workhorse Group and

 Lordstown Motors based on Enquist and Silverado’s recommendation, Silverado

 published its analysis concerning Workhorse Group on a publicly available website

 and on a Twitter account, despite Water Street’s request that he not do so. In

 publishing its analysis, Silverado gave to the public at large for free the very

 information for which it now seeks more money from Water Street and drew more

 attention to the short investment, creating substantial additional short squeeze risk

 to Water Street in the investments.

       17.    Silverado’s actions in reducing its short positions and publicizing its

 analysis of the investments increased Water Street’s risk in its investments and

 caused Water Street to be exposed to significant financial losses.

       18.    At the time that Water Street agreed to use Silverado for consulting

 services, Silverado represented that it would be providing a variety of

 recommendations on a variety of different companies. Ultimately, Silverado failed

 to provide any additional recommendations or providing any consulting services on

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 any potential transactions other than the short positions in Workhorse Group and

 Lordstown Motors that are at issue in this case.

                             First Affirmative Defense

       Silverado, through its principal, Jeffrey Enquist, fraudulently induced Water

 Street to enter into an agreement with him. More specifically, Enquist represented

 to Water Street that Silverado had performed a unique analysis from publicly

 available information in two short positions in which it was also invested and that it

 would continue to hold large short positions in them. Silverado made these

 representations with the knowledge that its analysis was widely known and that it

 would reduce its investment and, therefore, its risk, upon Water Street investing in

 the short positions. Silverado made these misrepresentations with the intent to induce

 Water Street into entering a business relationship with him and Water Street relied

 on such representations in entering into such relationship.

                            Second Affirmative Defense

       Silverado, through its principal, Jeffrey Enquist, committed fraud on Water

 Street. Enquist represented to Water Street that Silverado would continue to hold

 large short positions in the two investments. Silverado made these representations

 with the knowledge that it would reduce its investment and, therefore, its risk, upon

 Water Street investing in the short positions. Silverado made these representations

 with the intent to induce Water Street into investing in the two positions with the

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 expectation that Silverado would retain the upside benefit of the investments

 (through its agreement with Water Street) while shedding the unlimited downside

 risk of the short positions. Water Street relied on these representations in investing

 in the short positions, which resulted in Silverado profiting at Water Street’s

 expense.



                             Third Affirmative Defense

       Silverado’s claims against Water Street are barred in whole or in part by

 Silverado’s fraud upon the Court/spoliation of evidence. Silverado insisted that the

 parties communicate through the Signal messaging application. Despite claiming

 that it did not want any communications to be discoverable in litigation, Silverado

 falsified the actual messaging between the parties with respect to the agreed upon

 compensation that Silverado would receive in the event one or both of the

 recommended investments were profitable. Silverado then purports to have taken

 screen shots of the actual messages between the parties and has attached to its

 Complaint in this matter duplicates of such messages. Upon information and belief,

 native copies of the actual messages, which would conclusively demonstrate that the

 parties never agreed that Water Street would pay to Silverado 50% of its profits from

 the investments at issue, are not available. As such, Silverado’s claims in this

 proceeding should be barred in whole or in part due to its fraud on the Court and

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 spoliation of evidence.

                             Fourth Affirmative Defense

       Plaintiff’s claims against Water Street for breach of an oral contract are due

 to be dismissed because the person who Silverado alleges entered into such contract

 on its behalf, Davis Berg, did not have actual or apparent authority to bind Water

 Street to such an agreement and Enquist had actual knowledge that only Gilchrist

 Berg could bind Water Street to any compensation agreement. Further, Water Street

 did not make any representations to Silverado or the world at large to indicate that

 Davis Berg had any such authority. Accordingly, Davis Berg could not bind Water

 Street to the alleged oral contract.

                              Fifth Affirmative Defense

       At all times material hereto, Silverado and Water Street agreed that

 Silverado’s compensation, if any, would be at the sole discretion of Water Street

 based on all circumstances relating to the investments. Water Street determined that

 $350,000 was fair compensation based upon all of the facts and circumstances

 known to it at the time and, in fact, Water Street paid Silverado $350,000 for its

 services consistent with the terms of the parties’ agreement. As such, Water Street

 has fully paid to Silverado all amounts due under the parties’ agreement.

                              Sixth Affirmative Defense

       Although Water Street expressly denies that it ever agreed to pay Silverado

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 any amount tied to the profits or fees that it realized in the two investment positions

 recommended by Silverado other than in the context of an offer to compromise,

 Water Street has in fact paid Silverado a fee substantially equal to ten percent of the

 fee that Water Street received for its clients’ profits, i.e., Water Street’s profits, in

 the Workhorse Group and Lordstown Motors short investments effectuating

 payment in full if such an agreement existed.

                             Seventh Affirmative Defense

       Water Street provided additional benefit to Silverado by sharing its

 independent research, analysis, and field notes in the Lordstown Motors and

 Workhorse Group positions with Silverado in real time, on which Silverado profited

 or should have profited. Those benefits Silverado received should be considered in

 any analysis of Plaintiff’s quantum meruit and unjust enrichment claims.

                               PRAYER FOR RELIEF

       Defendant, Water Street Capital, Inc., respectfully requests that the Court

 enter judgment in its favor and against Plaintiff, Silverado Capital, LLC, on all

 claims for relief asserted in the Complaint, and award such further relief to Water

 Street Capital, Inc., as the Court deems necessary.

 Dated: June 15, 2023

                                          SMITH, GAMBRELL & RUSSELL, LLP

                                          /s/ Richard D. Rivera
                                          Steven E. Brust
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                           CERTIFICATE OF SERVICE

       I hereby certify that on June 15, 2023, the foregoing document was filed with

 the Clerk of Court using the CM/ECF system, which will send a notice of electronic

 filing to the following counsel of record:

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